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%A0 2458      (Rev. 06105) Judgment in a Criminal Case             #1795
              Sheet I




                       SOUTHERN                                   District o f                                  ILLINOIS

         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              v.
                   JOSEPH A. WHITE                                         Case Number:           4:06CR40019-020-JPG

                                                                           USM Number: 07297-025
                                                                            John R. Clemons  ~




                                                                           Defendant's Attorney
THE DEFENDANT:                                                                                                            b7(&A          I
Mpleaded guilty to count(s)           1 of the Superseding Indictment                                        P. .    J     t    ,.
                                                                                                          80/,F-
  pleaded nolo contendere to count(s)                                                                        -'q
  which was accepted by the court.
  was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended                    ('ount
 g ".@&&$                                                         .'.                                                                        >
                                                                                                                                                 ,*s
                                                            ..    ;$Di@@k 43 W ~ Yufth
                                                                                 ~ IIntent
                                                                                       I                     4/5/2006
                                             -. 500 Grams or More of a Mixture or Substance
                                    tn Distribute

                                    Containing ~h

       The defendant is sentenced as provided in pages 2 through               10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is         are dismissed on the motion of the United States.

         It is ordered +at the defendant must notify the United States attomey for this distrjct within 30 da s of any chan e of name, resjdence,
or mailin address untrlall fines, restltution,,costs,and specral assessments mposed by t h ~judgment
                                                                                             s                  I'
                                                                                                        are fu ly paid
the defen%antmust notrfy the court and Unrted States attorney of matenal changes m econonuc crrcumstances.
                                                                                                                                2
                                                                                                                    . . If or ered to pay resututron,




                                                                            J Ph~lG~lbert                                 Dlstrlct Judge
                                                                           Name of Judge                                 Title afludge


                                                                                                     /a. 2'4~7
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             Sheet 2 - Imprisonment
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DEFENDANT: JOSEPH A. WHITE
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                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 208 months (It is the Court's intention that the defendant be sentenced to 240 months, with 32 months credit for time already
 sewed on a related case. The sentence imposed is to run concurrently with the state sentence in Marion County. IL. Case
 No. 06-CF-8.

     &f   The court makes the following recommendations to the Bureau of Prisons:

 That the defendant be placed in the Intensive Drug Treatment Program



     @ The defendant is remanded to the custody of the United States Marshal
          The defendant shall surrender to the United States Marshal for this district:
               at                                      a.m.         p.m.     on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

at                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                                                  DEPUTY LMITED STATES MARSHAL
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AO 2456     (Rev. 06/05) Judgment in a Criminal Case
            Sheet 3 -Supervised Release


DEFENDANT: JOSEPH A. WHITE
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  10 years on Count 1 of the Superseding Indictment



      The defendant must report to the probation oEce in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 suhstance. The defepdant shall susmit to one drug test within 15 days of release from imprisonment and at least two periodc drug tests
 thereafter, as detemuned by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future suhstance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation off~cee
   2)     the defendant shall report to the probation officer and shall submit a huthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a phys~cian;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the protation officer;
  10)     the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain vlew of the probabon officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as dlrcited hy thc rohatlon oflicer, the jefendant shall notliy third panles of nbkh that may bc occastoncd by the rlefcndant's crlmtnal
          record or pcrsonay h ~ s t o or
                                       ~ :charactcnstlcs and shall prnnrt the probanon oflicer to make such nor~ficarlonsand to confirm the
          defendant s comphance ulth such notification requlrcment.
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A 0 2458   (Rev. 06105) Judgment in a Oiminal Case
           Sheet 3C - Supervised Release
                                                               #1798
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no payment shall
 be required.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 245B
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           (Rev. 06105) Judgment in a Criminal Case
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           Sheet 5 -Criminal Monetary Penalties                 #1799

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 CASENUMBER: 4:06CR40019-020-JPG
                                               CIUMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                     Assessment                                       -
                                                                      Pine                              Restitution
 TOTALS            $ 100.00                                         $ 200.00                          $ 0.00



      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
      the prlonty order or percentage payment columnielow. However, pursuant to 18 Qs.8.5 3664{), all nonfederal v ~ c t ~must  m be pad
      before the United States is paid.

 Name of Pavee                                                         TotalLow*
                                                                              Restitution Ordered Prioritv or Percentaee




 TOTALS                               $                      0.00        $                     0.00


       Restitution amount ordered pursuant to plea agreement $

 0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(fJ. All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 B( The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @ the interest requirement is waived for the      @ fme        restitution.
           the interest requirement for the           fme 0 restitution is modified as follows:



 * Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before Apr1123, 199%.
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AO 2458
           Sheet 6 -Schedule of Payments                        #1800
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Qf Lump sum payment of $                                 due immediately, balance due

            IJ not later than                                      ,01
                  in accordance                C,      D,            E, or     B ( F below; or

 B          Payment to begin immediately (may be combined with               IJC,          D, or     IJF below); or
 C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    13 Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    &f Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 Unless the court has express1 ordered otherwise, if this jud ment imposes i m p r i s o n m e n t , r r m t of criminal monetay penalties is due durin
 imprisonment. All cnmina~monekugpenalbes, except L e payments made tbroug                            e Federal Bureau of Prisons' Inmate ~ i n a n c ~ i ?
 Responsibility Program, are made to e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



 IJ   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payment, shall be appl~edm the following ordcr. ( I / a.sessment. (2) restitution principal. ( 3 ) rrstinitiun interest, (4) line princlp31,
 ( 5 ) fine interect, ( 6 ) community restitution , (7) pena tics, and (8) costs. including cost of prosecution and court co5ts.
